Case 0:10-cv-62351-PAS Document 1 Entered on FLSD Docket 12/02/2010 Page 1 of 9




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 KEVIN G. LEWIS,

       Plaintiff,

 v.

 LTD FINANCIAL SERVICES, LP,

       Defendant.

 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”), the Florida Consumer Collection Practices Act,

 Fla. Stat. §559.55 et seq. (“FCCPA”), and the Telephone Consumer Protection Act,

 47 U.S.C §227, et seq. (“TCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, KEVIN G. LEWIS, is a natural person, and citizen of the

 State of Florida, residing in Broward County, Florida.
Case 0:10-cv-62351-PAS Document 1 Entered on FLSD Docket 12/02/2010 Page 2 of 9




        4.    Defendant, LTD FINANCIAL SERVICES, LP, is a limited

 partnership and citizen of the State of Texas with its principal place of business at

 Suite 1600, 7322 Southwest Freeway, Houston, Texas 77074.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.   Defendant left the following messages on Plaintiff’s voice mail on his

 cellular telephone on or about the dates stated:

        December 2, 2009 at 4:17 PM
        Hi, this message is for Lewis. My name is Brandi Jones. I’m trying to get in
        contact with you concerning a commercial breach of contract. One of my
        employees has had this for several weeks now. They do have it labeled as a
        refusal and they’re requesting me to sign off on it, ah, to get this contract
        enforced involuntarily. I wanted to at least give one attempt to call you
        because I don’t really see where you refused anything and you have been a
        customer of my client’s for at least three or four years. So, if you could give
        me a call back, I’ll be glad to do what I can to help you out, but
        unfortunately this probably will be the last time I’m able to try to reach you

                                            2
Case 0:10-cv-62351-PAS Document 1 Entered on FLSD Docket 12/02/2010 Page 3 of 9




       because I have so many of these to get out of here. My number is 877-741-
       2100, extension 3011.

       11.    Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

       12.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.    Defendant failed to inform Plaintiff in the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages and failed to disclose Defendant’s name.

       14.    Defendant used an automatic telephone dialing system or a pre-

 recorded or artificial voice to place telephone calls to Plaintiff’s cellular telephone.

       15.    Plaintiff did not expressly consent to Defendant’s placement of

 telephone calls to Plaintiff’s cellular telephone by the use of an automatic

 telephone dialing system or a pre-recorded or artificial voice prior to Defendant’s

 placement of the calls.

       16.    None of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

       17.    Defendant willfully or knowingly violated the TCPA.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR


                                            3
Case 0:10-cv-62351-PAS Document 1 Entered on FLSD Docket 12/02/2010 Page 4 of 9




       18.    Plaintiff incorporates Paragraphs 1 through 17.

       19.    Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

 Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       20.    Plaintiff incorporates Paragraphs 1 through 17.

       21.    Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose its name, that it is a

 debt collector, and the purpose of Defendant’s communication in the telephone

 messages in violation of 15 U.S.C §1692d(6). See Valencia v The Affiliated Group,

 Inc., Case No. 07-61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008,

 (S.D.Fla., September 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F.




                                            4
Case 0:10-cv-62351-PAS Document 1 Entered on FLSD Docket 12/02/2010 Page 5 of 9




 Supp. 591, 593 (D. Ga. 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp.

 2d 1104 (D. Cal. 2005).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                       COUNT III
  TELEPHONIC HARASSMENT AND ABUSE BY EXCESSIVE CALLING

       22.     Plaintiff incorporates Paragraphs 1 through 17.

       23.     Defendant caused Plaintiff’s telephone to ring repeatedly or

 continuously with the intent to annoy, abuse or harass in violation of 15 U.S.C

 §1692d(5). See Sanchez v. Client Servs., 520 F. Supp. 2d 1149, 1160-1161 (N.D.

 Cal. 2007).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                         COUNT IV
    TELEPHONIC HARASSMENT AND ABUSE FOR UNAUTHORIZED
             CALLS TO A CELLULAR TELEPHONE

                                           5
Case 0:10-cv-62351-PAS Document 1 Entered on FLSD Docket 12/02/2010 Page 6 of 9




       24.    Plaintiff incorporates Paragraphs 1 through 17.

       25.    Defendant engaged in conduct the natural consequence of which is to

 harass, oppress, or abuse by using an automatic telephone dialing system or pre-

 recorded or artificial voice in placing telephone calls to Plaintiff’s cellular

 telephone to which Plaintiff had not consented, in violation of 15 U.S.C §1692d.

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT V
     ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
        FLORIDA CONSUMER COLLECTION PRACTICES ACT

       26.    Plaintiff incorporates Paragraphs 1 through 17.

       27.    Defendant asserted the right to collect a debt by leaving telephone

 messages for Plaintiff without disclosing that it is a debt collector and the purpose

 of its communications and its name when Defendant knew it did not have a legal

 right to use such collection techniques in violation of Fla. Stat. §559.72(9).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

                                            6
Case 0:10-cv-62351-PAS Document 1 Entered on FLSD Docket 12/02/2010 Page 7 of 9




              b.     Attorney’s fees, litigation expenses and costs of suit;

              c.     declaring that Defendant’s practices violate the FCCPA;

              d.     permanently injoining Defendant from engaging in the

              complained of practices; and

              e.     Such other or further relief as the Court deems proper.

                         COUNT VI
      HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                COLLECTION PRACTICES ACT

       28.    Plaintiff incorporates Paragraphs 1 through 17.

       29.    By failing to disclose that it is a debt collector, its name and the

 purpose of its communication, by using an automatic telephone dialing system or

 pre-recorded or artificial voice in placing telephone calls to Plaintiff’s cellular

 telephone to which Plaintiff had not consented, and by telephoning Plaintiff with

 such frequency as can be reasonably be expected to harass, Defendant willfully

 engaged in conduct the natural consequence of which is to harass in violation of

 Fla. Stat. §559.72(7).

       30.    The FCCPA provides for equitable relief including injunctive relief.

 Berg v. Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla.

 2008).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:



                                            7
Case 0:10-cv-62351-PAS Document 1 Entered on FLSD Docket 12/02/2010 Page 8 of 9




               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit;

               c.    declaring that Defendant’s practices violate the FCCPA;

               d.    permanently injoining Defendant from engaging in the

               complained of practices; and

               e.    Such other or further relief as the Court deems proper.

                         COUNT VII
   VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

        31.    Plaintiff incorporates Paragraphs 1 through 17.

        32.    Defendant placed non-emergency telephone calls to Plaintiff’s cellular

 telephone using an automatic telephone dialing system or pre-recorded or artificial

 voice without Plaintiff’s prior express consent in violation of 47 U.S.C § 227

 (b)(1)(A)(iii).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    a declaration that Defendant’s calls violate the TCPA;

               c.    a permanent injunction prohibiting Defendant from placing

               non-emergency calls to the cellular telephone of any person using an

               automatic telephone dialing system or pre-recorded or artificial voice

               without the prior express consent of the called party; and

                                           8
Case 0:10-cv-62351-PAS Document 1 Entered on FLSD Docket 12/02/2010 Page 9 of 9




              d.    Such other or further relief as the Court deems proper.

                                      JURY DEMAND

        Plaintiff demands trial by jury.

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                                            9
